         Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 1 of 82




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re:                                             Case No. 23-90086 (CML)
                                                         (Chapter 11)
TEHUM CARE SERVICES, INC.,

Debtor.

 MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN
CORTES Individually AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC.
AS CLASS COUNSEL IN CORTES, et al., v. JOSH TEWALT, et al., PENDING IN THE
 UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO, CASE NO.
                            1:18 -cv-00001-BLW

 IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN WRITING.
 UNLESS OTHERWISE DIRECTED BY THE COURT, YOU MUST FILE YOUR RESPONSE
 ELECTRONICALLY AT HTTPS://ECF.TXSB.USCOURTS.GOV/ WITHIN TWENTY-ONE
 DAYS FROM THE DATE THIS MOTION WAS FILED. IF YOU DO NOT HAVE
 ELECTRONIC FILING PRIVILEGES, YOU MUST FILE A WRITTEN OBJECTION THAT IS
 ACTUALLY RECEIVED BY THE CLERK WITHIN TWENTY-ONE DAYS FROM THE DATE
 THIS MOTION WAS FILED. OTHERWISE, THE COURT MAY TREAT THE PLEADING AS
 UNOPPOSED AND GRANT THE RELIEF REQUESTED.

 A HEARING WILL BE CONDUCTED ON THIS MATTER ON AUGUST 3, 2023, AT 10:00 A.M.
 CT IN COURTROOM 401, 515 RUSK ST., HOUSTON, TX 77002. YOU MAY PARTICIPATE
 IN THE HEARING EITHER IN PERSON OR BY AN AUDIO AND VIDEO CONNECTION.

 AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S DIAL-IN FACILITY. YOU
 MAY ACCESS THE FACILITY AT 832-917-1510. ONCE CONNECTED, YOU WILL BE
 ASKED TO ENTER THE CONFERENCE ROOM NUMBER.               JUDGE LOPEZ’S
 CONFERENCE ROOM NUMBER IS 590153. VIDEO COMMUNICATION WILL BE BY USE
 OF THE GOTOMEETING PLATFORM. CONNECTION VIA THE FREE GOTOMEETING
 APPLICATION OR CLICK THE LINK ON JUDGE LOPEZ’S HOME PAGE. THE MEETING
 CODE IS “JUDGELOPEZ.” CLICK THE SETTINGS ICON IN THE UPPER RIGHT CORNER
 AND ENTER YOUR NAME UNDER THE PERSONAL INFORMATION SETTING.

 HEARING APPEARANCES MUST BE MADE ELECTRONICALLY IN ADVANCE OF BOTH
 ELECTRONIC AND IN-PERSON HEARINGS. TO MAKE YOUR APPEARANCE, CLICK
 THE “ELECTRONIC APPEARANCE” LINK ON JUDGE LOPEZ’S HOMEPAGE. SELECT
 THE CASE NAME, COMPLETE THE REQUIRED FIELDS, AND CLICK “SUBMIT” TO
 COMPLETE YOUR APPEARANCE.




MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 1
       Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 2 of 82




       The Class of Idaho Department of Corrections Inmates and their attorneys of record, by

and through their undersigned counsel, submits this motion (“Motion”) seeking the entry of an

order substantially in the form attached hereto as Exhibit A (“Proposed Order”) lifting the

automatic stay for cause under 11 U.S.C. § 362(d)(1) for the limited purpose of authorizing the

United States District Court for the District of Idaho (the “Idaho District Court”) to determine

whether to approve an amended settlement agreement of a class action suit brought by a group of

Idaho Department of Correction inmates (the “Class” or the “IDOC Inmates”) against officials of

the Idaho Department of Corrections (“IDOC”) and Debtor Corizon, Inc. n/k/a Tehum Care

Services Inc. (“Debtor”). In support of this Motion, the Class and class counsel respectfully

represent as follows:

                        Jurisdiction, Venue, and Statutory Predicates

       1.      The U.S. Bankruptcy Court for the Southern District of Texas (“Court”) has

jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and 1334 and General Order 2012-6

issued by the U.S. District Court for the Southern District of Texas, In re Order of Reference to

Bankruptcy Judges (S.D. Tex. May 12, 2012).

       2.      This matter is a core proceeding under 28 U.S.C. § 157(b)(2)(G).

       3.      Venue in this district is proper under 28 U.S.C. §§ 1408-09.

       4.      The Court is authorized to grant the requested relief under 11 U.S.C. § 362(d)(1);

Rules 4001(a) and 9014 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”); Rule

4001-1 of the Bankruptcy Local Rules of this Court (“Local Rules”); and Procedure 16 of the

Procedures for Complex Cases in the Southern District of Texas (“Complex Case Procedures”).




MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 2
          Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 3 of 82




                                                  Background

           5.       In January, 2018, several IDOC inmates who had or were suffering from Hepatitis

C Virus (“HCV”) commenced an action by the filing of a Complaint in the United States District

Court for the District of Idaho as case no. 1:18-cv-00001-BLW (the “District Court Action”). 1

HCV is a serious and life-threatening disease which had become curable following the

development and FDA approval of direct acting antiviral medications known as “DAAs”. The

Complaint sought declaratory, injunctive, and monetary relief based on allegations of inadequate

medical care and treatment for HCV in violation of their federal constitutional right to adequate

medical care under the Eighth Amendment from IDOC and the Debtor (as Corizon), which, at that

time, was under contract with the IDOC to provide healthcare services to IDOC inmates. 2 The

Hearn Law firm in Pocatello, Idaho, appeared for the plaintiffs in July, 2018, and by way of

amended and supplemental complaints eventually there were 124 named Plaintiffs, 89 of which

asserted individual claims for monetary damages against only Corizon, Inc. (later Corizon LLC)

and three of Corizon’s health care providers (hereafter “Corizon” or “Corizon defendants”

collectively). In addition to the monetary damage claims against the Corizon defendants only, class

action claims for declaratory and injunctive relief were pleaded against the IDOC and Corizon

defendants.

           6.      In October, 2018, Plaintiffs moved for class certification and for a preliminary

injunction/temporary restraining order, followed by a motion for partial summary judgment, all

relating to the claims for declaratory and injunctive relief. While these motions were pending, the


1
    Complaint, Case No. 1:18-cv-00001-BLW (D. Idaho filed January 3, 2018), Dkt. No. 11.
2
    On Sept. 30, 2021 the contractual relationship between IDOC and Corizon ended

MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 3
          Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 4 of 82




District Court ordered a case management conference. As a result of that conference, the parties

were ordered to engage in alternative dispute resolution proceedings (mediation). Multiple formal

mediation sessions and extensive informal negotiations between July, 2019 and May, 2020

resulted in agreement on all material substantive terms regarding settlement of the equitable claims

for declaratory and injunctive relief. As discussed further below, it is this settlement that is the

subject of this motion for partial relief from the stay.

           7.      The parties then concentrated mostly on resolution of the monetary damage claims

against the Corizon defendants. Again, following several formal mediation sessions and extensive

informal negotiations, on November 25, 2020 the parties agreed to a settlement of all the individual

damage claims asserted in the litigation against the Corizon defendants. In a joint status report to

the Idaho District Court on December 30, 2020, the parties advised the Court that a global

resolution of all claims in the case had been reached subject to finalization of the settlement and

release documents. By July, 2021, all named plaintiffs with individual damage claims against the

Corizon defendants had each executed a separate Settlement Agreement and Release which were

all delivered to Corizon’s attorneys. A stipulation to dismiss the individual damage claims was

prepared and then filed by Corizon’s attorneys on August 31, 2021. By Order entered on February

4, 2022, the District Court granted the parties’ stipulation for dismissal of all the monetary damage

claims 3, and also entered a Rule 54 (b) Judgment dismissing those damage claims with prejudice. 4




3
 Order Severing Claims of Plaintiff Joseph Williams into a Separate Case; order granting Stipulation for Dismissal
of All Other Plaintiffs Claims for Damages, Case No. 1:18-cv-00001-BLW (D. Idaho filed February 4, 2022), Dkt.
No. 131.
4
    Rule 54(b) Judgment, Case No. 1:18-cv-00001-BLW (D. Idaho filed February 4, 2022), Dkt. No. 132.

MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 4
        Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 5 of 82




This left for final resolution only the parties settlement agreement and release respecting the

equitable claims for injunctive relief, which is the subject of the instant motion.

        8.       The parties’ settlement agreement of the injunctive relief claims was executed by

IDOC’s director (Josh Tewalt) on August 3, 2021, by Corizon, LLC (J. Scott King) on August 18,

2021, and by Plaintiffs’ attorneys (Hearn and Ingelstrom) on August 19, 2021. The agreement was

entitled “Private Settlement Agreement and Release” and expressly specified it was to be deemed

a private settlement in accordance with 18 U.S.C. §3626(c)(2). It called for the certification of a

FRCP 23(b)(2) class for injunctive relief and for settlement purposes only under FRCP 23(e). As

such, the settlement agreement was required to be approved by the District Court. FRCP 23(e).

Because it would be binding upon the unnamed class members, the court could approve it only

upon finding it to be fair, reasonable and adequate. FRCP 23(e)(2). This requirement is not for the

protection of the settling defendants or the class representatives, but rather for the protection of the

entire class membership.

        9.       A Joint Motion for Preliminary Approval of Class Action Settlement and a

Memorandum in Support thereof were prepared and filed by counsel for the Corizon defendants

on August 31, 2021. The motion and supporting documents sought preliminary approval of the

settlement; certification of a class for settlement purposes consisting of over 8,000 inmates in

IDOC custody and all inmates entering IDOC custody during the term of the Agreement;

appointment of Plaintiffs’ attorneys (Hearn Law, PLC) as class counsel; directing notice to the

class; and giving final approval of the proposed settlement agreement. 5


5
 Joint Motion for Preliminary Approval of Class Action Settlement, Case No. 1:18-cv-00001-BLW (D. Idaho filed
August 31, 2021), Dkt. No. 127.


MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 5
        Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 6 of 82




        10.     The proposed settlement agreement was attached as Exhibit 1 to the supporting

memorandum. 6 The supporting memorandum addresses several of the key provisions of the

Agreement, including: (1) universal testing for HCV on an opt-out basis; (2) treatment eligibility

and protocols; (3) IDOC’s obligation to spend a specified amount in each of the first five (5) fiscal

years covered by the Agreement, for a total of $29.25 million, exclusively for providing DAA

treatment to inmates; (4) education of inmates with HCV released without receiving DAA

treatment, including references and resources for how and where to obtain treatment in the

community and options for payment; (5) documentation requirements for compliance monitoring

by class counsel during the term of the Agreement; (6) fair and reasonable attorney fees and costs

for Plaintiff’s attorneys; (7) enforcement provisions in the event of a breach; and (8) dismissal of

the action and release of claims.

        11.     In January 2022, the Court entered an “Order Requiring Clarification” having

determined it needed additional information.7 There, the Court observed as follows: “As to the

subject matter of the Settlement Agreement, the Court agrees that settlement of the disputed issue

of a clear protocol for delivering HCV diagnostic care and treatment for all IDOC inmates, present

and future, is an important singular, and severable issue from individual inmate claims for

damages. If three years of negotiations has produced only a fair, reasonable, and adequate proposal

for declaratory and injunctive relief, then that work product is worthy of preservation and




6
  Private Settlement Agreement and Release, Case No. 1:18-cv-00001-BLW (D. Idaho filed August 31, 2021). Dkt.
No. 127-2.
7
  Order Requiring Clarification, Case No. 1:18-cv-00001-BLW (D. Idaho filed January 6, 2022), Dkt. No. 129.


MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 6
        Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 7 of 82




implementation on behalf of all inmates.” 8 The attorneys for the Corizon defendants then prepared

and on January 21, 2022, filed the Joint Response to Order Requiring Clarification. 9

           12.   On February 8, 2022, the Idaho District Court entered an Order giving preliminary

approval of the Settlement Agreement pertaining to the injunctive relief claims, certifying a class

for settlement purposes, appointing Richard A. Hearn and John B. Ingelstrom of Hearn Law PLC

as class counsel, appointing Reuben Cortes as class representative, directing notice to the class

including class member’s rights to objection, and scheduling the fairness hearing on May 10,

2022. 10

           13.   By Order entered on September 29, 2022, the District Court denied final approval

of the Settlement “…with the hope that the parties will make adjustments to their agreement and

resubmit it in the near future.” The main issues the Court identified for withholding final approval

are as follows: (a) confusion over the nature of the future claims (those arising during the term of

the Agreement) being released and the eligibility of all inmates for DAA treatment regardless of

risk classification; (b) refinement of the class definition to include only those in physical custody

and not those on probation or parole; and (c) to address a Federal Bureau of Prisons (FBOP)

standard referenced in the treatment protocol provisions of the Agreement that had changed

“[w]hile the Settlement Agreement was awaiting class certification and final approval, not due to

the fault of the parties…”


8
 Order Requiring Clarification, Case No. 1:18-cv-00001-BLW (D. Idaho filed January 6, 2022), Dkt. No. 129 Pg 3-
4.
9
 Joint Response to Order Requiring Clarification, Case No. 1:18-cv-00001-BLW (D. Idaho filed January 21, 2022),
Dkt. 130.
10
  Order Approving Settlement Proposal and Certifying a Class for Settlement of declaratory and injunctive Relief
Claims, Case No. 1:18-cv-00001-BLW (D. Idaho filed February 8, 2022), Dkt. 134.

MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 7
        Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 8 of 82




        14.     Thereafter the parties agreed to negotiate modifications to address the District

Court’s reservations about giving final approval to the Settlement. Those efforts resulted in an

Amended Private Settlement Agreement and Release. That Amended Agreement was executed by

the parties on December 1, 2022, with Corizon, LLC reconfirming its commitment to the

settlement by the signature of Isaac Lefkowitz, Senior Vice President on behalf of Corizon, LLC.

Attorneys for the Corizon defendants authorized the affixation of their signature on the

Memorandum in Support of Joint Motion for Final Approval of Amended Class Action Settlement,

filed on December 2, 2022. 11 The Amended Settlement Agreement was filed with the supporting

memorandum. 12 A Copy of the Amended Private Settlement Agreement and Release (the

Amended Settlement Agreement”) is attached hereto as Exhibit B. However, while the matter was

pending the District Court’s determination of whether to give final approval to the Amended

Settlement, on February 13, 2023, Tehum (Corizon) filed its voluntary petition for relief under

Chapter 11, 13 and filed a Suggestion of Bankruptcy and Notice of Automatic Stay in the Idaho

District Court Action. 14 Accordingly, for more than 5 ½ years after the filing of the class action

and nearly two years after the parties executed the initial settlement agreement: (a) over 8000

current inmates in IDOC custody and all those who will become inmates before June 30, 2028,

still have no enforceable rights to the constitutionally adequate medical care of HCV specified in




11
  Memorandum in Support of Joint Motion for Final Approval of Amended Class Action Settlement, Case No.
1:18-cv-00001-BLW (D. Idaho filed December 2, 2022), Dkt. No. 170.
12
   Amended Private Settlement Agreement and Release, Case No. 1:18-cv-00001-BLW (D. Idaho filed on December
2, 2022), Dkt. No. 170-1.
13
   Docket No. 1

 Suggestion of Bankruptcy and Notice of Automatic Stay, Case no. 1:18-cv-00001-BLW (D. Court filed February
14

21, 2023), Dkt. No. 171.

MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 8
       Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 9 of 82




the Amended Settlement Agreement; (b) Plaintiffs’ attorneys and class counsel have received no

compensation for the legal services rendered over the past five (5) years and no reimbursement of

costs incurred in the representation; and (c) the class action lawsuit remains open on the Idaho

District Court’s docket.

       15.     Because Corizon is no longer the contracted health care provider for IDOC, there

are only three provisions in the Amended Private Settlement Agreement and Release that are

relevant to Tehum (Corizon) and this motion for limited relief from the automatic stay:

(a) Paragraph 3.8, Attorney Fees and Costs “…the Parties further agree that Corizon, LLC is only

responsible to pay (and agrees to pay) $27,421.22 in costs and $100,000.00 in attorney fees, which

payment is due and payable within thirty (30) days from the Effective Date of the Agreement.”

(parenthetical in original). The rest and remainder of class counsel’s fair and reasonable attorney

fees and costs will be determined by the Idaho District Court and payable from the fund represented

by IDOC’s required expenditures for DAA treatment under Paragraph 3.6 of the Agreement, which

expenditures are, of course, derived from appropriations by the Idaho Legislature. The class and

class counsel seek stay relief allowing them to file their petition for fees and costs from IDOC’s

expenditure fund and the Idaho District Court to determine such fair and reasonable fees and costs.

Respecting Tehum’s/Corizon’s specified portion of the fees and costs, the class and class counsel

recognize and commit to seek recovery of the same only through the claim procedures in this

Bankruptcy Court (unless debtor’s petition is dismissed).

(b) Paragraph 3.11, Dismissal of Defendants. Provides for the dismissal with prejudice of all claims

in the Operative Complaint against the Corizon defendants by the filing within 14 days of the




MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 9
       Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 10 of 82




Effective Date of the Agreement a Stipulation for Dismissal with Prejudice. The class and class

counsel also seek stay relief to file said stipulation.

(c) Paragraph 3.12, Release of Claims Against Defendants.

        16.     Movants are mindful that there may be a possible indemnification claim by IDOC

against Tehum/Corizon. However, no such claim has been asserted in the Idaho class action

lawsuit. Movants are unaware of any such claim that has been filed in any other courts in Idaho. It

is also clear that any such claim by IDOC would have already accrued and that it would be subject

to the automatic stay. This motion does not seek stay relief with respect to any such claim by

IDOC, which claim would necessarily have to be made in Tehum’s bankruptcy case. Further, there

is nothing about the instant motion for limited relief from the stay which adversely effects or

otherwise prejudices the rights of Tehum/Corizon with regard to any indemnity claim IDOC may

wish to assert in this Bankruptcy Court arising out of the Idaho class action litigation.

                                          Relief Requested

        17.     By this Motion, the Class seeks the entry of the Proposed Order lifting the automatic

stay for cause under 11 U.S.C. § 362(d)(1) for the limited purposes of (a) permitting the Idaho

Federal District Court to determine whether to approve the Amended Settlement Agreement, (b)

if the Idaho District Court approves the Amended Settlement Agreement, allowing class counsel

to petition the District Court and that Court to determine fair and reasonable attorney fees and costs

in accordance with ¶ 3.8 of the Settlement Agreement discussed above; and (c) if the Agreement

is approved allowing counsel to file a stipulation for dismissal of the claims Against Corizon, and

for the Court to enter a dismissal order thereon.




MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 10
          Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 11 of 82




                                           Basis for Requested Relief

           A.       Legal Standard

           18.      Section 362(d)(1) of the Bankruptcy Code provides:

           (d) On request of a party in interest and after notice and a hearing, the court shall
           grant relief from the stay provided under [§ 362(a)], such as by terminating,
           annulling, modifying, or conditioning such stay –

           (1) for cause, including the lack of adequate protection of an interest in property of
           such party in interest . . .

           19.      The moving party bears the initial burden of establishing “a prima facie case for

relief,” while “the party opposing stay relief . . . has the ultimate burden of persuasion (or the risk

of non-persuasion).” 15

           20.      “Cause is an intentionally broad and flexible concept, made so in order to permit

the courts to respond in equity to inherently fact-sensitive situations.” 16 Because the statute does

not define “cause,” courts determine its existence “on a case by case basis based on an examination

of the totality of circumstances.” 17 In a report on the Bankruptcy Reform Act of 1978 issued

shortly before its enactment, the House of Representatives Committee on the Judiciary provided

the following guidance on cause:

           The lack of adequate protection of an interest in property of the party requesting
           relief from the stay is one cause for relief, but it is not the only cause. . . . [A] desire
           to permit an action to proceed to completion in another tribunal may provide




15
     In re Rogers, 239 B.R. 883, 887 (Bankr. E.D. Tex. 1999).
16
     Mooney v. Gill, 310 B.R. 543, 547 (N.D. Tex. 2002) (internal quotation marks and citation omitted).
17
  In re WGMJR, Inc., 425 B.R. 423, 433 (Bankr. S.D. Tex. 2010; see also In re Omni Lion’s Run, LP, 578 B.R. 394,
398 (Bankr. W.D. Tex. 2017)

MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 11
       Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 12 of 82




        another cause. . .. The facts of each request will determine whether relief is
        appropriate under the circumstances.” 18

        21.      Courts in the Fifth Circuit “apply a variety of factor-based tests” to assess the

totality of the circumstances, and “no single approach prevails.” 19 Some Courts apply the

following 12-factor test (“Curtis Factors”) when a movant seeks stay relief to continue proceeding

in a non-bankruptcy forum:

                 1.       Whether the relief will result in a partial or complete resolution of the issues;

                 2.       The lack of any connection with or interference with the bankruptcy case;

                 3.       Whether the foreign proceeding involves the debtor as a fiduciary;

                 4.       Whether a specialized tribunal has been established to hear the particular
                          cause of action and that tribunal has the expertise to hear such cases;

                 5.       Whether the debtor’s insurance carrier has assumed full financial
                          responsibility for defending the litigation;

                 6.       Whether the action essentially involves third parties and the debtor
                          functions only as a bailee or conduit for the goods or proceeds in question;

                 7.       Whether litigation in another forum would prejudice the interest of other
                          creditors, the creditors’ committee, and other interested parties;

                 8.       Whether the judgment claim arising from the foreign action is subject to
                          equitable subordination under Section 510(c);

                 9.       Whether the movant’s success in the foreign proceeding would result in a
                          judicial lien avoidable by the debtor under Section 522(f);

                 10.      The interest of the judicial economy and the expeditious and economical
                          determination of litigation for the parties;


18
   H.R. Rep. No. 95-595, at 343-44 (1978); see also In re Fowler, 259 B.R. 856, 858 (Bankr. E.D. Tex. 2001); and
In re Xenon Anesthesia of Texas, PLLC, 510 B.R. 106, 112 (Bankr. S.D. Tex. 2014) (finding that allowing a matter
to proceed in another forum may constitute cause).
19
  In re White, No. 18-50385, 2018 WL 4677440, at *6 (Bankr. S.D. Miss. Sept. 27, 2018) (internal quotation marks
and citation omitted).

MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 12
          Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 13 of 82




                     11.       Whether the foreign proceedings have progressed to the point where the
                               parties are prepared for trial; and

                     12.       The impact of the stay on the parties and the balance of the hurt. 20

Courts “should only apply the factors that are relevant to the case and do not need to give each

factor equal weight.” 21

            22.      By contrast, some courts have recognized that “the decision to lift the stay may be

upheld on judicial economy grounds alone.” 22 Another court conditioned cause on just two

requirements: “(a) [n]o ‘great prejudice’ to either the bankruptcy estate or the debtor must result

from the continuance of the civil action, and (b) the hardship to the plaintiff caused by the

continuance of the stay considerably outweighs the hardship caused to the debtor by modification

of the stay.” 23

            23.      The “common denominator” among all the tests “is [their] focus on the policies

underlying the Bankruptcy Code as well as the competing interests of the creditor, debtor, and

other parties in interest.” 24

            B.       Cause Exists to Grant the Requested Relief.

            24.      The totality of the circumstances and the applicable Curtis Factors support this

request for limited stay relief. 25 Under any test, the balance of the harms weighs heavily against


20
  See, e.g., In re Armstrong & Guy Office, LLC, No. 07-02459, 2007 WL 4571152, at *2 (Bankr. S.D. Miss. Dec. 11,
2007) (quoting In re Curtis, 40 B.R. 795, 799-800 (Bankr. D. Utah 1984)); In re McConathy, No. 90-13449, 2021 WL
2405734, at *7 (Bankr. W.D. La. June 14, 2021); In re Xenon, 510 B.R. at 112 (Bankr. S.D. Tex. 2014).
21
     McConathy, 2021 WL 2405734, at *7.
22
     See, e.g., Xenon, 510 B.R. at 112; In re U.S. Brass Corp., 176 B.R. 11, 13 (Bankr. E.D. Tex. 1994).
23
     Fowler, 259 B.R. at 860 (quoting In re McGraw, 18 B.R. 140, 143 (Bkrtcy. W.D. Wis. 1982)).
24
     White, 2018 WL 4677440, at *6.
25
     The third, fourth, fifth, sixth, seventh, eighth, and ninth Curtis Factors are inapplicable.

MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 13
       Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 14 of 82




the movants if the Idaho District Court’s ability to approve the Amended Settlement remains

stayed.

          25.   First, allowing the Idaho District Court Action to proceed will completely resolve

the issues in the District Court Action.

          26.   Second, there will be minimal, if any, interference with the bankruptcy case because

approval of the Amended Settlement Agreement will have no impact on the Debtor. The Debtor’s

only obligation under the Amended Settlement Agreement is its agreement to pay $100,000 toward

Class counsel’s attorney fees and $27,421.22 in costs. If the Idaho District Court approves the

Amended Settlement Agreement, Debtor’s obligation for payment of attorney fees and costs will

be addressed through the claim procedures in the Bankruptcy Court. The Class further notes that

the Debtor did not include the Idaho District Court Action among the lawsuits for which it obtained

an emergency extension of stay. 26

          27.   Third, allowing the Idaho District Court to consider approval of the Amended

Settlement Agreement and its ultimate approval will not prejudice the other parties in interest. On

the other hand, maintaining the stay could adversely impact the more than 8,000 inmates who are

relying on the procedures and treatment protocols contained in the Amended Settlement

Agreement to ensure they receive proper medical treatment. Since the Debtor is no longer the

healthcare provider for IDOC it has no obligations to implement the agreed upon protocols or to

provide medical treatment under the Amended Settlement Agreement.




26
   See Order Regarding Debtor’s Emergency Motion to Extend and Enforce the Automatic Stay, Case No. 23-90086,
at Dkt. 118, Ex. 1.

MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 14
       Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 15 of 82




           28.    Fourth, allowing the approval process in the Idaho District Court Action to continue

would better serve the interests of judicial economy. If the stay remains in place, the Class’s

alternative is to seek approval of the Amended Settlement Agreement from this Court. The Idaho

District Court is familiar with the facts and issues and has the benefit of specific experience with

this proceeding since 2018. Addressing the issues in this Court will require this Court to expend

judicial resources and result in the delay of a resolution and generate unnecessary expenses for all

parties.

           29.    Fifth, the Class would suffer substantially more harm if the stay were not lifted than

the Debtor would suffer if the Idaho District Court considers and rules on the approval of the

Amended Settlement Agreement.            As stated above, approval of the Amended Settlement

Agreement has no monetary or other impact upon the Debtor. On the other hand, if the Amended

Settlement Agreement is not approved, the Class could be denied lifesaving medical treatment.

           WHEREFORE, the Class respectfully requests this Court enter the Proposed Order lifting

the automatic stay for cause under 11 U.S.C. § 362(d)(1) for the limited purposes of (a) permitting

the Idaho District Court to determine whether to approve the Amended Settlement Agreement, (b)

if the Idaho District Court approves the Amended Settlement Agreement, allowing class counsel

to petition the District Court and that Court to determine fair and reasonable attorney fees and costs

in accordance with ¶ 3.8 of the Settlement Agreement discussed above; and (c) if the Agreement

is approved, allowing counsel to file a stipulation for dismissal of the claims against Corizon, and

for the Court to enter a dismissal order thereon.




MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 15
       Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 16 of 82




       DATED this 23rd day of June, 2023.

                                               RACINE OLSON, PLLP


                                               By: /s/ Daniel C. Green
                                                    DANIEL C. GREEN (Pro Hac Vice)




                                  BLR 4001-1(a)(1) Certification

        The undersigned hereby certifies that on April 4, 2023, he contacted the Debtor’s counsel,
by email to request the Debtor stipulate to limited relief from the automatic stay. I subsequently
spoke with London England, one of Debtor’s attorneys, concerning a proposed stipulation. Further
email exchanges occurred on April 17, 2023 and April 24, 2023. In her April 24, 2023 email, Ms.
England indicated the Debtor was still evaluating the request and would be in contact once a
decision was reached. On May 5, 2023, a telephone conference was held between myself, John B.
Ingelstrom, Richard Hearn, and Ms. England. In that telephone conference Ms. England advised
us of her understanding that the IDOC intended to assert indemnification claims against Corizon
arising out of the class action case. I further understand that it is the Debtor’s position that it will
not stipulate to stay relief if the relief does not resolve all potential indemnity claims.


                                               /s/ Daniel C. Green
                                               DANIEL C. GREEN




MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 16
      Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 17 of 82




                 CERTIFICATE OF SERVICE AND CERTIFICATE OF
                  COMPLIANCE WITH LOCAL RULE 4001(a)(1)(4)

        I HEREBY CERTIFY that a copy of this Motion was served on the persons shown on the
service list attached hereto as Exhibit C via U.S. first-class mail, email, or CM/ECF as further
indicated therein on the 23rd day of June, 2023, in compliance with Local Rule 4001(a)(1)(4).



                                            /s/ Daniel C. Green
                                            DANIEL C. GREEN




MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY BY REUBEN CORTES Individually
AND AS CLASS REPRESENTATIVE, AND HEARN LAW, PLC. AS CLASS COUNSEL IN CORTES, et al.,
v. JOSH TEWALT, et al., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF IDAHO, CASE NO. 1:18 -cv-00001-BLW – 17
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 18 of 82




            EXHIBIT A
             Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 19 of 82




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

    In re:                                                                Case No. 23-90086 (CML)
                                                                                (Chapter 11)
    TEHUM CARE SERVICES, INC., 1

    Debtor.

                       ORDER GRANTING MOTION FOR LIMITED RELIEF
                               FROM THE AUTOMATIC STAY


             The Class of Idaho Department of Corrections Inmates (“Movant”) and their attorneys of

record filed a motion for relief from the automatic stay (“Motion”) 2 for the limited purpose of (a)

permitting the Idaho Federal District Court to determine whether to approve the Amended

Settlement Agreement, (b) if the Amended Settlement Agreement is approved, allowing class

counsel to petition the Idaho Federal District Court and authorizing that court to determine fair and

reasonable attorney fees and costs in accordance with paragraph 3.8 of the Amended Settlement

Agreement, and (c) if the Amended Settlement Agreement is approved, authorizing counsel to file

a stipulation for dismissal of the claims against Corizon, and for the court to enter a dismissal

order. The Movant represented to the Court that it had served the motion in accordance with all

applicable rules and provided notice of the hearing.

              __________________                  Although a response opposing the Motion was filed, the

                                                  respondent did not appear at the hearing. Therefore, the




1
 The last four digits of the Debtor’s federal Tax Identification Number are 8853. The Debtor’s service address is:
205 Powell Pl., Ste. 104, Brentwood, TN 37027.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.

ORDER GRANTING MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY – 1
          Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 20 of 82




                                                  response is overruled for want of prosecution and the

                                                  motion is granted.

             __________________                   The Debtor filed a response that the Debtor was not

                                                  opposed to the requested relief, and no other party

                                                  opposed the requested relief.

             __________________                   The Debtor filed a response that the Debtor was unable

                                                  to admit or deny the allegations, the Debtor failed to

                                                  appear at the hearing, and no other party opposed the

                                                  requested relief.

             __________________                   After hearing, and for the reasons stated on the record,

                                                  relief from the stay is granted.

             __________________                   No timely response was filed. Accordingly, the Motion

                                                  is granted by default.

             __________________                   As shown by the below signature of the Debtor’s counsel,

                                                  the Debtor has agreed to the requested relief.

           The Class of Idaho Department of Corrections Inmates (“Movant”) and their attorneys of

record filed a motion for relief from the automatic stay (“Motion”) 3 for the limited purpose of (a)

permitting the Idaho Federal District Court to determine whether to approve the Amended

Settlement Agreement, (b) if the Amended Settlement Agreement is approved, allowing class

counsel to petition the Idaho Federal District Court and authorizing that court to determine fair and

reasonable attorney fees and costs in accordance with paragraph 3.8 of the Amended Settlement

Agreement, and (c) if the Amended Settlement Agreement is approved, authorizing counsel to file



3
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.

ORDER GRANTING MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY – 2
      Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 21 of 82




a stipulation for dismissal of the claims against Corizon, and for the court to enter a dismissal

order. The Movant represented to the Court that it had served the motion in accordance with all

applicable rules and provided notice of the hearing.

       Additional rulings:

        __________________              The Movant is awarded attorneys’ fees in the amount of

                                        $_____________.

        __________________              The stay imposed by Bankruptcy Rule 4001(a)(3) does

                                        not apply for the reasons stated on the record.




ORDER GRANTING MOTION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY – 3
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 22 of 82




            EXHIBIT B
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 23 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 24 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 25 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 26 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 27 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 28 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 29 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 30 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 31 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 32 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 33 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 34 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 35 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 36 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 37 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 38 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 39 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 40 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 41 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 42 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 43 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 44 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 45 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 46 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 47 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 48 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 49 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 50 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 51 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 52 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 53 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 54 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 55 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 56 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 57 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 58 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 59 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 60 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 61 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 62 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 63 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 64 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 65 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 66 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 67 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 68 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 69 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 70 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 71 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 72 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 73 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 74 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 75 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 76 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 77 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 78 of 82
Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 79 of 82




            EXHIBIT C
                                                                                             Filed
                                                                Case 23-90086 Document 605Master        in TXSB on 05/22/23 Page 2 of 4
                                                                                                 Service List




         CreditorName                   CreditorNoticeName                 Address1                Address2               City               State     Zip        Phone            Fax                        Email                    Description
  Aakash Dalal SBI# 792652E                                      215 Burlington Road South                        Bridgeton                 NJ     08302                                                                     Interested Party
  Alight                           Jessica Lazenby               P.O. Box 95135                                   Chicago                   IL     60694-5135                                Jessica.lazenby@alight.com      Top 30 Creditor
  Anant Kumar Tripati #102681                                    P.O. Box 8909                                    Yuma                      AZ     85349      928-627-8871                                                   Interested Party
                                                                 Struck Love Bojanowski &     3100 W. Ray Rd, Ste
  Arizona DOC                      Tim Bojanowski                Acedo, PLC                   300                 Chandler                  AZ    85226                                      bojanowski@strucklove.com       Top 30 Creditor
  Baker, Donelson, Bearman,                                      1301 McKinney Street, Suite                                                                                                                                 Counsel for Maxim Healthcare
  Caldwell & Berkowitz, PC         Susan C. Mathews              3700                                             Houston                   TX    77010      713-286-7165     713-650-9701   smathews@bakerdonelson.com      Staffing Services, Inc.
  BDO                              Randy Wise                    P.O. Box 642743                                  Pittsburgh                PA    15264-274                                                                  Top 30 Creditor
  Bio-Rad Laboratories, Inc.       Thomas Burg                   1000 Alfred Nobel Drive                          Hercules                  CA    94547                                      thomas@bbslaw.com               Top 30 Creditor
  Blue Cross Blue Shield of MI     Paul Wilk, Jr.                600 East Lafayette Boulevard                     Detroit                   MI    48226-2996                                 Paul.wilk@kitch.com             Top 30 Creditor
                                                                                                                                                                                                                             Counsel for Ginger Headley and
  Brown & Crouppen, P.C.           Stephen L. Bishop             2345 Grand Blvd., Ste. 675                             Kansas City         MO    64108        816-350-9158   816-298-6437   stephenb@getbc.com              Mark Coffelt
                                                                                                                                                                                                                             Counsel for Consilium Staffing,
  Brown Fox PLLC                   Eric C. Wood                  6303 Cowboys Way, Suite 450                            Frisco              TX    75034        214-327-5000   214-327-5001   eric@brownfoxlaw.com            LLC
  Cameron Regional Medical
  Center                           Mark Cole                     1600 East Evergreen                                    Cameron             MO    64429                                      mcole@spencerfane.com           Top 30 Creditor
  Canon Financial                  Brian Fleischer               14904 Collections Drive                                Chicago             IL    60693-0149                                 bfleischer@fleischerlaw.com     Top 30 Creditor
  Capital Region Medical
  Center/Curators of the           Patrick Stueve, Tom                                                                                                                                       stueve@stuevesiegel.com;        Top 30 Creditor and Committee
  University of MO                 Luebbering                    1125 Madison Street                                    Jefferson City      MO    65101        573-632-5001                  tluebbering@crmc.org            of Unsecured Creditors
  Capitol Eye et al.               Blake Marcus                  1705 Christy Drive, #101                               Jefferson City      MO    65101                                      Blake.m@carsoncoil.com          Top 30 Creditor
  Cell Staff                       Mike Landon                   1715 N Westshore Boulevard                             Tampa               FL    33607                                      mlandon@cellstaff.com           Top 30 Creditor
  Christopher D. Harrell WMCI
  #26939                                                         7076 Road 55F                                          Torrington          WY    82240-7771                                                                 Interested Party
  Dell Financial Services, LLC     Richard Villa                 P.O. BOX 6547                                          Carol Stream        IL    60197-6547                                 collections@slollp.com          Top 30 Creditor
                                                                                                                                                                                                                             Counsel to Mitsubishi HC
                                                                                                                                                                                                                             Capital America, Inc. f/k/a
  Doshi Legal Group, P.C.          Amish R. Doshi                1979 Marcus Avenue               Suite 210E            Lake Success        NY    11042        516-622-2335                  amish@doshilegal.com            Hitachi Capital America, Corp.
                                   Philip A. Cantwell, Robyn                                                                                                                                 pcantwell@dowdbennett.com;      Counsel to YesCare Corp. and
  Dowd Bennett LLP                 Parkinson                     7733 Forsyth Blvd., Suite 1900                         St. Louis           MO    63105                                      rparkinson@dowdbennett.com      CHS TX
                                   Keely E. Duke and Molly E.                                                                                                                                ked@dukeevett.com;              Counsel for Saint Alphonsus
  Duke Evett, PLLC                 Mitchell                     P.O. Box 7387                                           Boise               ID    83702        208-342-3310   208-342-3299   mem@dukeevett.com               Health System, Inc
  Edward Albert Stenberg
  #124629                        Lakeland Correctional Facility 141 First St.                                           Coldwater           MI    49036                                                                      Interested Party
  Fleischer, Fleischer & Suglia,                                                                  601 Route 73 North,                                                                                                        Counsel for Canon Financial
  P.C.                           Nicola G. Suglia               Four Greentree Centre             Suite 305             Marlton             NJ    08053      856-489-8977                    nsuglia@fleischerlaw.com        Services, Inc.
  Florida Attorney General       Ashley Moody, Office of the AG The Capitol PL-01                                       Tallahassee         FL    32399-1050                                                                 FL Attorney General
  Franchise Tax Board            Bankruptcy Section, MS: A-340 PO Box 2952                                              Sacramento          CA    95812-2952                                                                 Franchise Tax Board
  Frank Patterson WMCI #13216                                   7076 Road 55 F                                          Torrington          WY    82240-7771                                                                 Interested Party
  GHR General Healthcare
  Resources                      Jessica Glatzer Mason          2250 Hickory Road, Ste. 240                             Plymouth Meeting PA       19462                                      jmason@foley.com                Top 30 Creditor
                                                                                                                                                                                             jbrookner@grayreed.com;
                                   Jason S. Brookner, Aaron M.                                                                                                                               akaufman@grayreed.com;
                                   Kaufman, Lydia R.             1300 Post Oak Boulevard,                                                                                                    lwebb@grayreed.com;             Counsel for the Debtor and
  Gray Reed & McGraw LLP           Webb,Amber M. Carson          Suite 2000                                             Houston             TX    77056        713-986-7127   713-986-5966   acarson@grayreed.com            Debtor in Possession
                                                                                                                                                                                                                             Counsel for Dr. Jeffrey Bomber,
                                                                                                                                                                                                                             Dr. Robert David Lacy, Dr.
                                                                                                                                                                                                                             Victoria Hallett, Dr. Rickey
                                                                                                                                                                                                                             Coleman, Donna Marie Rohrs,
                                                                                                                                                                                                                             Dr. Aleatha Denise Reitsma-
  Hackney Odlem & Dardas,                                        10850 E. Traverse Hwy., Ste.                                                                                                                                Mathias, Dr. Charles Stewart
  PLC                              Thomas G. Hackney             4440                                                   Traverse City       MI    49684      231-642-5026                    thackney@hodlawyers.com         Jamsen, and Rosilyn Jindal
  Halo Branded Solutions           Scott Schaefer                3182 Momentum Place                                    Chicago             IL    60689-5331                                 Scott@schaeferslaw.com          Top 30 Creditor
  HCA Health Services of FL        David Tassa                   2020 59th Street West                                  Bradenton           FL    34209-4604                                 dtassa@kslaw.com                Top 30 Creditor
  Highwoods Properties             Ronn Steen                    P.O. Box 409355                                        Atlanta             GA    30384                                      Ronn.steen@thompsonburton.com   Top 30 Creditor
                                   Centralized Insolvency
  Internal Revenue Svc             Operation                     PO Box 7346                                            Philadelphia        PA    19101-7346                                                                 IRS
                                                                                                                                                                                                                                                               Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 80 of 82




                                   Centralized Insolvency
  Internal Revenue Svc             Operation                     2970 Market St                   Mail Stop 5 Q30 133 Philadelphia          PA    19104-5016                                                                 IRS




In re: Tehum Care Services, Inc.
Case No.: 23-90086 (CML)                                                                                                            Page 1 of 3
                                                                                          Filed
                                                             Case 23-90086 Document 605Master        in TXSB on 05/22/23 Page 3 of 4
                                                                                              Service List




          CreditorName                  CreditorNoticeName                 Address1                  Address2                  City         State      Zip          Phone            Fax                         Email                            Description
                                                                                                                                                                                                                                        Counsel for Capital Region
                                                                                                                                                                                                                                        Medical Center and The
                                                                                                                                                                                                                                        Curators of the University of
  Jones Murray LLP                 Erin Jones                    602 Sawyer St., Suite 400                            Houston              TX       77007      832-529-1999     832-529-3393   erin@jonesmurray.com                     Missouri
  Kansas Attorney General          Kris W Kobach                 120 SW 10th Ave, 2nd Fl                              Topeka               KS       66612-1597                                                                          KS Attorney General
                                                                 222 N Pacific Coast Highway,
  KCC                              Darlene S. Calderon           Suite 300                                            El Segundo           CA       90245        781-575-2040                  tehuminfo@kccllc.com                     Claims and Noticing Agent
  Kentucky Attorney General        Daniel Cameron                700 Capitol Ave              Capital Bldg Ste 118    Frankfort            KY       40601                                                                               KY Attorney General
                                                                                                                                                                                                                                        Counsel for Henry Snook,
                                                                                                                                                                                                                                        Jennifer Power, Aanda Slocum,
                                                                                                                                                                                                                                        Linda Floyd, successors and
  Lane & Nach, P.C.                Adam B. Nach                  2001 E. Campbell St., #103                           Phoenix              AZ       85016                                      adam.nach@lane-nach.com                  assigns
                                                                                                                                                                                                                                        Committee of Unsecured
  Latricia Revell                                                1568 Sterling Place                                  Brooklyn             NY       11212      929-234-1835                    Latriciarevell227@gmail.com              Creditors
  Liftforward / Hitachi / Mitsubishi Mark Magnozzi               P.O. BOX 1880                                        Minneapolis          MN       55480-1880                                 mmagnozzi@magnozzilaw.com                Top 30 Creditor
  M.E. Heard, Attorney, PLLC         Mary Elizabeth Heard        100 NE Loop 410, Suite 605                           San Antonio          TX       78216      210-572-4925                    meheard@heardlawfirm.net                 Co-Counsel for Adree Edmo
  Maryland Attorney General          Anthony G Brown             200 St Paul Pl                                       Baltimore            MD       21202-2022                                 oag@oag.state.md.us                      MD Attorney General
                                                                 12558 Collections Center
  Maxim Healthcare                 Erno Lindner                  Drive                                                Chicago              IL       60693                                      elindner@bakerdonelson.com               Top 30 Creditor
  Maxim Healthcare Staffing                                                                                                                                                                                                             Committee of Unsecured
  Services, Inc.                   Neil M. Williamson            7227 Lee Deforest Drive                              Columbia             MD       21046        410-910-6191                  newillia@maximstaffing.com               Creditors
                                                                                                                                                                                               BlakeHamm@MehaffyWeber.com;              Counsel for Saint Alphonsus
  Mehaffy Weber, P.C.              Blake Hamm and Holly Hamm     P.O. Box 16                                          Beaumont             TX       77704      409-835-5011     409-835-5177   HollyHamm@MehaffyWeber.com               Health System, Inc
  Mercy Hospital (MO)              Lisa Manziel                  1400 US Highway 61                                   Festus               MO       63028-4100                                 info@manziel.com                         Top 30 Creditor
  Michigan Attorney General        Dana Nessel                   PO Box 30212                   525 W Ottawa St       Lansing              MI       48909-0212                                 miag@mi.gov                              MI Attorney General
  Microsoft                        Amy Scoville                  P. O. Box 844510                                     Dallas               TX       75284-4510                                 amdevi@microsoft.com                     Top 30 Creditor
  Missouri Attorney General        Andrew Bailey                 Supreme Ct Bldg                207 W High St         Jefferson City       MO       65101                                                                               MO Attorney General
                                                                                                                                                                                                                                        Counsel to State of Idaho,
                                                                                                                                                                                                                                        Idaho Department of
                                                                                                                                                                                                                                        Corrections, and certain officials
  Munsch Hardt Kopf & Harr,        John D. Cornwell and Brenda                                                                                                                                 jcornwell@munsch.com;                    or employees of the State of
  P.C.                             L. Funk                       700 Milam Street, Suite 800                          Houston              TX       77002-2806 713-222-1470     713-2221475    bfunk@munsch.com                         Idaho
                                                                                                                                                                                                                                        Counsel to State of Idaho,
                                                                                                                                                                                                                                        Idaho Department of
                                                                                                                                                                                                                                        Corrections, and certain officials
  Munsch Hardt Kopf & Harr,                                      500 N. Akard Street, Suite                                                                                                                                             or employees of the State of
  P.C.                             Randall W. Miller             3800                                                 Dallas               TX       75201-6659 214-855-7539     214-855-7584   rwmiller@munsch.com                      Idaho
  Nephrology and Hypertension
  Associates L.L.P.                Thomas Riley                  1205 West Broadway                                   Columbia             MO       65203                       573-449-1787   triley@rsb.com                           Top 30 Creditor
                                                                 Richard J Hughes Justice       25 Market St 8th Fl
  New Jersey Attorney General Matthew J Platkin                  Complex                        West Wing             Trenton              NJ       08625                                                                               NJ Attorney General
  New Mexico Attorney General Raul Torrez                        408 Glisteo St                 Villagra Bldg         Santa Fe             NM       87501                                                                               NM Attorney General
  New York Attorney General   Letitia James Dept. of Law         The Capitol, 2nd Floor                               Albany               NY       12224-0341                                                                          NY Attorney General
                              TGH Litigation LLC, J. Andrew
  Newman, Kathleen            Hirth                              28 N. 8th Street, Suite 317                          Columbia             MO       65201                                      andy@tghlitigation.com                   Top 30 Creditor
                                                                                                                                                                                                                                        Counsel to DIP Agent M2
  Norton Rose Fulbright            Julie Goodrich Harrison       1301 McKinney                  Suite 5100            Houston              TX       77010-3095 713-651-5434                    julie.harrison@nortonrosefulbright.com   LoanCo, LLC
                                                                                                                                                                                                                                        Counsel to DIP Agent M2
  Norton Rose Fulbright            Kristian W. Gluck             2200 Ross Avenue               Suite 3600            Dallas               TX       75201-7932 214-855-8210                    kristian.gluck@nortonrosefulbright.com   LoanCo, LLC
  Office of the United States                                                                                                                                                                                                           Office of the United States
  Trustee                          Ha Minh Nguyen                515 Rusk St Ste 3516                                 Houston              TX       77002                                      ha.nguyen@usdoj.gov                      Trustee
                                                                                                                                                                                                                                        Counsel for Arizona Department
                                                                                                                                                                                                                                        of Corrections, Rehabilitation,
                                   Warren J. Stapleton and       2929 N. Central Ave, Ste.                                                                                                     wstapleton@omlaw.com;                    and
  Osborn Maledon, P.A.             Christopher C. Simpson        2000                                                 Phoenix              AZ       85012        602-640-9000   602-640-9050   csimpson@omlaw.com                       Reentry
                                                                 1600 Strawberry Square, 16th
  Pennsylvania Attorney General Michelle Henry                   Fl                                                   Harrisburg           PA       17120                                      press@attorneygeneral.gov                PA Attorney General
                                                                                                                                                                                                                                                                             Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 81 of 82




  Pike County Memorial Hospital Jonathan Shoener                 2305 West Georgia St.                                Louisiana            MO       63353                                      fandblegal@gmail.com                     Top 30 Creditor
                                                                                                                                                                                                                                        Committee of Unsecured
  Rachell Garwood                                                31956 West Cranston Street                           New Haven            MI       48048        586-260-8325                  rachellgarwood@yahoo.com                 Creditors




In re: Tehum Care Services, Inc.
Case No.: 23-90086 (CML)                                                                                                           Page 2 of 3
                                                                                              Filed
                                                                 Case 23-90086 Document 605Master        in TXSB on 05/22/23 Page 4 of 4
                                                                                                  Service List




          CreditorName                  CreditorNoticeName                   Address1                  Address2                 City        State      Zip          Phone            Fax                         Email                              Description
                                                                                                                                                                                                                                          Counsel for Tehum Care
  Racine Olson, PLLP               Daniel C. Green                 201 E. Center Street           P.O. Box 1391        Pocatello           ID       83204        208-232-6101   208-232-6109   dan@racineolson.com                        Services, Inc.
                                                                                                                                                                                                                                          Top 30 Creditor and Co-
  Rifkin Law Office              Lori Rifkin                   3630 High St. Ste. 18917                                Oakland             CA       94619                                      lrifkin@rifkinlawoffice.com                Counsel for Adree Edmo
  Saint Alphonsus Health         Keely Duke, Stephanie                                                                                                                                         ked@dukeevett.com;                         Top 30 Creditor and Committee
  System, Inc.                   Westermeier                   1055 North Curtis Road                                  Boise               ID       83706-1309 208-367-6325                    stephanie.westermeier@trinity-health.org   of Unsecured Creditors
                                 Wendy Olson, Stoel Rives, LLP                                                                                                                                 wendy.olson@stoel.com;                     Top 30 Creditor and Committee
  St. Luke’s Health System, Ltd. and David Barton              190 E. Bannock                                          Boise               ID       83712-6241 208-493-0560                    bartond@slhs.org                           of Unsecured Creditors
                                                                                                                                                                                               paul.lackey@stinson.com;
                                                                                                                                                                                               ed.caldie@stinson.com;                     Counsel for the Official
                                                                                                                                                                                               phillip.ashfield@stinson.com;              Unsecured Creditors'
  Stinson LLP                      Paul B. Lackey                  2200 Ross Ave., Suite 2900                          Dallas              TX       75201        214-560-2201   214-560-2203   nicholas.zluticky@stinson.com              Committee
                                                                                                                                                                                                                                          Counsel for Lone Star Alliance
                                                                                                                                                                                                                                          Inc., A Risk Retention
                                                                   8350 N. Central Expressway,                                                                                                                                            Company, a subsidiary of Texas
  Stromberg Stock, PLLC            Mark Stromberg                  Suite 1225                                          Dallas              TX       75206        972-458-5353   972-861-5339   mark@strombergstock.com                    Medical Liability Trust
                                                                                                                                                                                                                                          Counsel for the Curators of the
                                                                                                                                                                                                                                          University of Missouri and
  Stueve Siegel Hanson LLP         Ethan M. Lange                  460 Nichols Rd., Suite 200                          Kansas City         MO       64112      816-714-7174     816-714-7101   lange@stuevesiegel.com                     Capital Region Medical Center
  Supplemental Healthcare          Fariha Haider                   P.O. Box 27124                                      Salt Lake City      UT       84127-0124                                 fhaider@shccares.com                       Top 30 Creditor
                                   Russell Perry, Chief
                                   Restructuring Officer, Ankura                                                                                                                                                                          Debtor and Debtor in
  Tehum Care Services, Inc.        Consulting Group, LLC           2021 McKinney Ave., Ste. 340                        Dallas              TX       75201                                      russell.perry@ankura.com                   Possession
                                                                                                                                                                                                                                          Debtor and Debtor in
  Tehum Care Services, Inc.                                        205 Powell Place, Suite 104                         Brentwood           TN       37027                                                                                 Possession
                                                                                                                                                                                               bankruptcytax@oag.texas.gov;
  Texas Attorney General           Attn Bankruptcy Department      300 W. 15th St                                      Austin              TX       78701        512-463-2100   512-475-2994   communications@oag.texas.gov               TX Attorney General
                                   c/o TN Attorney General's
  TN Dept of Revenue               Office, Bankruptcy Division     PO Box 20207                                        Nashville           TN       37202-0207 615-532-8718     615-741-3334   steve.butler@ag.tn.gov                     TN Dept of Revenue
  Truman Medical Center, Inc.      Office of General Counsel,                                                                                                                                                                             Top 30 Creditor and Committee
  d/b/a University Health          Claire Hillman                  2301 Holmes Street                                  Kansas City         MO       63108                                      Claire.hillman@uhkc.org                    of Unsecured Creditors
  U.S. Department of Justice                                       606 N Carancahua St, Ste
  Office of the U.S. Trustee       Andrew Jimenez                  1107                                                Corpus Christi      TX       78401                                      andrew.jimenez@usdoj.gov                   U.S. Department of Justice
  US Attorney Southern District
  of Texas                                                         1000 Louisiana Ste 2300                             Houston             TX       77002                                      usatxs.atty@usdoj.gov                      United States Attorney
                                   c/o Webb Law Group, Lenden
  Vang, Ka et al                   Webb                            466 W. Fallbrook Ave., #102                         Fresno              CA       93711                                      lwebb@webblawgroup.com                     Top 30 Creditor
  Virginia Attorney General        Jason Miyares                   202 North Ninth St                                  Richmond            VA       23219                                                                                 VA Attorney General
                                                                                                                                                                                                                                          Counsel to YesCare Corp. and
  White & Case LLP                 Samuel P. Hershey               1221 Avenue of the Americas                         New York            NY       10020                                      sam.hershey@whitecase.com                  CHS TX
  WhiteGlove Placement             Linda Markowitz                 89 Bartlett Street                                  Brooklyn            NY       11206                                      lmarkowitz@whiteglovecare.net              Top 30 Creditor
  Willis Towers Watson RMS
  LLC                                                              29754 Network Place                                 Chicago             IL       60673-1297                                                                            Top 30 Creditor
                                                                                                  State Capitol Bldg
  Wyoming Attorney General         Bridget Hill                    200 W 24th St                  Rm 123               Cheyenne            WY       82002                                                                                 WY Attorney General
                                                                                                                                                                                                                                                                            Case 23-90086 Document 715 Filed in TXSB on 06/23/23 Page 82 of 82




In re: Tehum Care Services, Inc.
Case No.: 23-90086 (CML)                                                                                                           Page 3 of 3
